

Dunbar v Women &amp; Children's Hosp. of Buffalo (2023 NY Slip Op 03108)





Dunbar v Women &amp; Children's Hosp. of Buffalo


2023 NY Slip Op 03108


Decided on June 9, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, CURRAN, BANNISTER, AND MONTOUR, JJ.


192 CA 21-00904

[*1]MORGAN JAMIE DUNBAR AND MACNORE CAMERON, PLAINTIFFS-APPELLANTS,
vWOMEN &amp; CHILDREN'S HOSPITAL OF BUFFALO, AND ITS SUCCESSORS IN INTEREST, INCLUDING CORPORATIONS AND/OR ENTITIES, JOHN R. OISHEI CHILDREN'S HOSPITAL, PREVIOUSLY KNOWN AS WOMEN &amp; CHILDREN'S HOSPITAL OF BUFFALO, KALEIDA HEALTH, INC., GIL MICHAEL FARKASH, M.D., DEBRA M. ERCKERT, R.N., DENISE M. MEISSNER, R.N., KATHARINE . MORRISON, M.D., KATHARINE . MORRISON, M.D., PLLC, THE BIRTHING CENTER OF BUFFALO, DOING BUSINESS AS BUFFALO WOMENSERVICES, LLC, BUFFALO GYN WOMENSERVICES, INC., EILEEN STEWART, CNM, BUFFALO MIDWIFERY SERVICES, PLLC, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANTS. (APPEAL NO. 3.) 






MORGAN JAMIE DUNBAR, PLAINTIFF-APPELLANT PRO SE. 
MACNORE CAMERON, PLAINTIFF-APPELLANT PRO SE. 
CONNORS LLP, BUFFALO (MOLLIE C. MCGORRY OF COUNSEL), FOR DEFENDANTS-RESPONDENTS WOMEN &amp; CHILDREN'S HOSPITAL OF BUFFALO, AND ITS
HOSPITAL OF BUFFALO, KALEIDA HEALTH, INC., DEBRA M. ERCKERT, R.N., AND DENISE M. MEISSNER, R.N. 

	 


	Appeal from an order of the Supreme Court, Erie County (Frederick J. Marshall, J.), entered June 4, 2021. The order settled a record on appeal. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Hearst Corp. v Clyne , 50 NY2d 707, 714 [1980]).
Entered: June 9, 2023
Ann Dillon Flynn
Clerk of the Court








